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 6
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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00187 GEB

12                                Plaintiff,             STIPULATION AND PROPOSED ORDER TO
                                                         CONTINUE JUDGMENT AND SENTENCING
13                          v.                           HEARING

14   KARI SCATTAGLIA, et al.,

15                                Defendants.

16

17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorneys Todd A. Pickles and Rosanne L. Rust, and defendants Kari Scattaglia and Lisa Terraciano,

19 and by and through their counsel of record, hereby stipulate:

20          1.      On November 3, 2017, defendants pled guilty to the sole-count in the information and the

21 matter was referred to the Probation Office for preparation of a pretrial investigation report. By prior

22 order, the matter was set for a judgment and sentencing hearing on June 29, 2018 at 9:00 a.m.

23          2.      By this stipulation, the parties jointly request that this Court continue the judgment and

24 sentencing hearing until September 28, 2018. Because the defendants have pleaded guilty, the

25 provisions of the Speedy Trial Act do not apply to this request.

26          3.      Additionally, defendants each expressly agree that they will appear before the Court on

27 the date of June 29, 2018, and acknowledge that their failure to appear on that date may result in their

28 immediate incarceration, that the United States may file additional charges for their failure to appear,


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30    CONTINUANCE OF JUDGMENT AND SENTENCING
                 Case 2:17-cr-00187-KJM Document 52 Filed 06/28/18 Page 2 of 3

 1 which could result in a sentence of up to 10 years imprisonment in addition to the sentence imposed in

 2 this case, and that any failure to appear may jeopardize any motion for downward departure under

 3 U.S.S.G. § 5K1.1 that the United States might file based on any substantial assistance provided to the

 4 prosecution to date.

 5          4.      Counsel for the defense agree that they will provide a copy of the stipulation and the

 6 Court’s order to their clients.

 7          IT IS SO STIPULATED AND REQUESTED.

 8   Dated: June 27, 2018                                    MCGREGOR W. SCOTT
                                                             United States Attorney
 9
                                                      By: /s/ Todd A. Pickles
10                                                        TODD A. PICKLES
                                                          ROSANNE L. RUST
11                                                        Assistant United States Attorneys
12   Dated: June 27, 2018                             By: /s/ Todd A. Pickles for
                                                          WILLIAM KROGER, Esq.
13
                                                             Counsel for defendant Kari Scattaglia
14

15   Dated: June 27, 2018                             By: /s/ Todd A. Pickles for
                                                          CHRISTOPHER COSCA, Esq.
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                                                             Counsel for defendant Lisa Terraciano
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      STIPULATION AND PROPOSED ORDER RE:                 2
30    CONTINUANCE OF JUDGMENT AND SENTENCING
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 1                                         FINDINGS AND ORDER

 2          The Court hereby continues the judgment and sentencing hearing to September 28, 2018 at 9:00

 3 a.m. All dates previously set for the preparation of the Presentence Investigation Report and for the

 4 filing of documents with the Court are reset consistent with judgment and hearing date of September 28,

 5 2018.

 6          IT IS SO FOUND AND ORDERED.

 7          Dated: June 28, 2018

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      STIPULATION AND PROPOSED ORDER RE:                3
30    CONTINUANCE OF JUDGMENT AND SENTENCING
